     Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 1 of 13



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JAMES HEIRONIMUS,                         §
on behalf of himself and                  §
all others similarly situated             §
        Plaintiff                         §
                                          §
V.                                        §   CASE NUMBER 4:17-cv-00121
                                          §
CAVALRY PORTFOLIO SERVICES, LLC           §
and RAUSCH, STURM, ISRAEL,                §
ENERSON & HORNIK, LLC,                    §
      Defendants                          §


      JOINT MOTION FOR CONDITIONAL CERTIFICATION AND
PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT AGREEMENT


        Plaintiff James Heironimus and Defendants Cavalry Portfolio Services, LLC

(“CPS”) and Rausch, Sturm, Israel, Enerson & Hornik, LLC (“RSIEH”) jointly

move the Court to certify Plaintiff conditionally as class representative, certify

Plaintiff’s attorneys conditionally as class counsel, approve a proposed

settlement pursuant to Rule 23 of the Federal Rules of Civil Procedure, and

approve the proposed class notice, and in support of such motion would

respectfully show the following:

                                1. NATURE OF THE CASE

        1.01. Plaintiff is an individual consumer who allegedly became delinquent

on his consumer debt. He contends that in attempting to collect a consumer debt

from him Defendant RSIEH sent a collection letter to him that allegedly violated

the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. He further

asserts that RSIEH sent a substantially similar letter to each of the class

                                          1
      Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 2 of 13



members he seeks to represent. Plaintiff asserts that such violations render

RSIEH liable for statutory damages under the FDCPA and that CPS is vicariously

liable for RSIEH’s alleged statutory violations.

        1.02. Defendants deny Plaintiff’s allegations and assert that they have no

liability under state or federal law to Plaintiff or the class he seeks to represent.

                                                 2. MOTION

        2.01. Plaintiff moves the Court to certify a Rule 23(b)(3) class and to

approve the settlement reflected in the Settlement Agreement filed herewith.

Class members will be given notice of this action, of the proposed settlement,

and of the opportunity object, or opt out.1 Congress has set limits on the class

liability in FDCPA cases, and the settlement provides for payment of the

maximum statutory penalty provided for under the FDCPA.

        2.02. A true copy of the Settlement Agreement and the exhibits thereto

accompanies this motion as Appendix 1.

Elements for Certification

        2.03. Rule 23 of the                Federal Rules of Civil Procedure governs the

certification of class actions. One or more members of a class may sue or

be sued as representative parties on behalf of a class if: (1) the class is so

numerous that joinder of all members is impracticable; (2) there are questions

of law or     fact common            to    the     class, {3)       the     claims or defenses of the

representative parties are typical of the claims or defenses of the class, and (4)



1
 Under the terms of the settlement class members will not receive or be required to submit claim forms.
Distribution will be automatic.

                                                         2
      Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 3 of 13



the representative parties will fairly and adequately protect the interests of

the class.   In support of their contention that proper and              sufficient

grounds for class certification exist under Rule 23, the parties would show the

following:

Numerosity

       2.04. Based upon information received from Defendants, the persons

potentially in the Class (147) are so numerous that joinder of all members is

impracticable.

Commonality

       2.05. Rule 23’s commonality requirement demands that the putative class

members’ claims “must depend upon a common contention” that “must be of

such a nature that it is capable of class-wide resolution. Yates v. Collier, 868

F.3d 354 (5th Cir. 2017),m citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

349, 350 (2011). Plaintiff contends that there are common questions of law or

fact affecting the class, and that these questions include but are not limited

to:

             a.    whether Defendants’ conduct violated the FDCPA;

             b.    whether Plaintiff and the other class members are entitled to

                   recover statutory damages and, if so, in what amount;

             c.    how Defendants’ net worth should be calculated for the

                   purpose of assessing the limit on class damages; and

             d.    whether Plaintiff and the other class members are entitled to

                   recover attorney’s fees and, if so, in what amount.


                                        3
    Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 4 of 13



Typicality

      2.06. In order to meet the typicality requirement, “the claims or defenses

of the parties [must be] typical of the claims or defenses of the class.” FED. R.

CIV. P. 23(a)(3); James v. City of Dallas, 254 F.3d 551, 571 (5th Cir. 2001).

“Typicality does not require a complete identity of claims. Rather, the critical

inquiry is whether the class representative’s claims have the same essential

characteristics of those of the putative class. If the claims arise from a similar

course of conduct and share the same legal theory, factual differences will not

defeat typicality.” Id. quoring 5 JAMES WM. MOORE ET AL., MOORE’S FEDERAL

PRACTICE ¶ 23.24[4] (3d ed. 2000). A class representative’s claim is typical if it

“arises from the same event or practice or course of conduct that gives rise to

the claims of other class members and his or her claims are based on the same

legal theory.” Keele v. Wexler, 149 F.3d 589, 595 (7th Cir. 1998). Plaintiff

contends that his claims are typical of the claims of the rest of the class. Plaintiff

alleges that he was a recipient of the same form letter that was directed to the

rest of the class.

Adequacy of Representations

      2.07. Adequacy of representation consists of two prongs: the adequacy of

counsel to handle a class action and the adequacy of the named Plaintiff to

protect the differing interests of the absent class members. Unger v. Amedisys

Inc., 401 F.3d 316, 321 (5th Cir. 2005); Retired Chicago Police Ass’n v. City of

Chicago, 7 F.3d 584, 598 (7th Cir. 1993). Analysis of the adequacy of the class

representative focuses on whether there are intraclass conflicts between the


                                          4
    Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 5 of 13



class representatives and those they seek to represent. Langbecker v. Elec. Data

Sys. Corp., 476 F.3d 299, 314 (5th Cir. 2007); A class representative must

“possess the same interest and suffer the same injury as the class members.”

Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625-26 (1997).

      2.08. Plaintiff asserts that he will fairly and adequately represent the

interests of the class. Through his attorneys of record, Plaintiff has been

willing to pay the costs of notice and litigation. Plaintiff believes that he has no

interests adverse to other members of the Class.

      2.09. Plaintiff has hired the undersigned attorneys to represent him in this

matter. Plaintiff’s attorneys have substantial experience in the handling of both

consumer protection litigation and class actions and have previously been

certified as class counsel in other cases.

Other Considerations

      2.10. Pursuant to Rule 23 an action may be maintained as a class action

if the four elements described above are satisfied and certain other conditions

exist. These other conditions are:

            a.     the prosecution of separate actions by or against individual

                   members of the class would create a risk of:

                   1.    inconsistent or varying adjudications with respect to

                         individual members of the class which would establish

                         incompatible standards of conduct for the party

                         opposing the class, or




                                         5
    Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 6 of 13



                  11.   adjudications with respect to individual members of

                        the class which would as a practical matter be

                        dispositive of the interests of the other members not

                        parties to the adjudications or substantially impair or

                        impede their ability to protect their interests;

             b.   the party opposing the class has acted or refused to act on

                  grounds generally applicable to the class, thereby making

                  appropriate final injunctive relief or corresponding declaratory

                  relief with respect to the class as a whole;

             c.   where the object of the action is the adjudication of claims

                  which do or may affect specific property involved in the

                  action; or

             d.   the Court finds that the questions of law or fact common to

                  the members of the class predominate over any questions

                  affecting only individual members, and that a class action

                  is superior to other available methods for the fair and

                  efficient adjudication of the controversy.

      2.11. Plaintiff alleges that the causes of action forming the basis of the

class claims in this case are such that the prosecution of separate actions by

individual   members    of     the   class would create          the   risk     of

establishing incompatible standards of conduct for Defendants.

      2.12. Additionally, Plaintiff alleges that the questions of law and fact

common to the members of the class predominate over any questions affecting


                                        6
    Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 7 of 13



only individual members, and that a class action is superior to other available

methods for the fair and efficient adjudication of the controversy in this case

because a class action resolution of the issues described above outweighs the

difficulties in management of the class as separate claimants and allows access

to the courts for those who might not gain such access standing alone.

      2.13. Solely for the purposes of this motion and to effectuate the

proposed settlement, Defendants do not dispute that a class should be

certified for settlement purposes only. Defendants acknowledge the doctrine

that “federal courts naturally favor the settlement of class action litigation.”

Isby v. Bayh, 75 F.3d 1191, 1196 (7th Cir. 1996).

                                3. JOINT MOTION

      3.01. Defendants join in the request for certification solely for settlement

purposes. In the event that the settlement is not approved or as may otherwise

be provided in the Settlement Agreement, in the event that the proposed

settlement is not approved, Plaintiff stipulates that the certification order will be

set aside and neither this motion nor the settlement agreement will in any way

prejudice Defendants’ right to contest certification on any legal or equitable

grounds.

      3.02. In light of, and subject to the approval of the settlement agreement

Plaintiff and Defendants jointly move that the Court certify Plaintiff as class

representative and Plaintiff’s attorneys as class counsel.

      3.03. Movants hereby stipulate that any failure of the Court to approve

the settlement shall not operate as a waiver of the claims or defenses of any of


                                         7
    Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 8 of 13



the parties on the merits or the issue of certification at any such contested

hearing.

      3.04. Movants hereby stipulate that certification of the class is

conditioned upon:

             a. the accuracy of the representations and warranties contained in

                the Settlement Agreement;

             b. the performance by the Movants of their respective obligations

                under the Settlement Agreement in all material respects prior to

                the   Consummation      Date    (as   defined   in   the   Settlement

                Agreement);

             c. the entry of a final order releasing on behalf of Plaintiff and the

                Class, all of the Released Claims as defined in the Settlement

                Agreement;

             d. the receipt by the Movants of all documents reasonably required

                to implement the Settlement Agreement; and

             e. no other class actions being certified against Defendants

                asserting causes of action substantially identical to those

                asserted by Plaintiff in the present case.

      3.05. In the event that any one of the foregoing conditions is not met as

required by the Settlement Agreement, Movants agree that upon motion to the

Court, the Court will then decertify the class and take up the issue of certification

as a contested matter.

                         4. NATURE OF SETTLEMENT


                                         8
    Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 9 of 13



         4.01. The parties have agreed in principle to a settlement of this suit on a

class-wide basis. The essential terms of the settlement are set out in Appendix

1. The Settlement provides that the Court will certify Plaintiff as class

representative and Plaintiff’s attorneys as Class Counsel. The Settlement

provides substantial benefits to the Class (as defined therein), which is a Class

for settlement purposes only, and is fair, reasonable, and adequate in light of the

relevant facts, the applicable law, and the potential value of the settlement to the

Class.

         4.02. Subject to the terms of the Settlement Agreement, Defendants agree

that RSIEH will provide the following relief to Plaintiffs and the Class:

         A.    Defendant RSIEH shall pay $100.00 to each member of the Class.

               Defendants contend that this sum exceeds their maximum statutory

               liability under the FDCPA. The distribution shall be made without

               the need for a proof of claim. All distribution checks to the Class

               will expire after 120 days of issuance, and any undistributed funds

               represented by any uncashed checks will be distributed as a cy pres

               distribution to Lone Star Legal Aid for use in consumer

               representation and/or consumer education.

         B.    As part of the consideration for the individual and class releases

               Defendant RSIEH represents that it has cured the alleged statutory

               violation at issue in this case.

         C.    Defendant RSIEH will also pay Plaintiff James Heironimus for his

               individual claims the total amount of $1,000.00, as provided for in


                                            9
   Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 10 of 13



            15 U.S.C. § 1692k, and in consideration of Plaintiff’s service to the

            Class, Defendant RSIEH will pay to him an additional $3,000.00.

      D.    Defendant RSIEH shall bear the costs of class administration,

      E.    Subject to approval of the Court Defendant RSIEH shall pay in

            addition to the above the reasonable attorney’s fees and expenses of

            Plaintiff’s attorneys in an amount not to exceed $25,000.00.

      4.03. Counsel for Plaintiff and Defendants represent to the Court that the

proposed settlement was reached through arms-length negotiations between the

parties and that Class Counsel are able and experienced attorneys who are well-

qualified to evaluate the proposed Settlement Agreement on behalf of the Class

Members. Plaintiff asserts, and Defendants do not dispute for settlement

purposes only, that the Class meets the requirements for class certification

under FED. R. CIV. P. 23.

      4.04. A copy of the proposed Class Notice, which is to be mailed to each

Class Member at the last known address as reflected in Defendant’s records, is

attached as Exhibit C to the Settlement Agreement. That notice is sufficient to

inform Class Members regarding: (a) the formation of the Class; (b) the Class

definition; (c) the terms of the proposed settlement; (d) the proposed award of

attorney’s fees and expenses to Class Counsel; (e) Class Members’ right to object

to or opt out of the proposed Settlement; (f) the time and date of the Final

Fairness Hearing; and (g) Class Members’ right to appear at the Final Fairness

Hearing in favor of or in opposition to the proposed Settlement. The Class Notice

is written in plain English in a manner reasonably calculated to allow class


                                       10
   Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 11 of 13



members to evaluate and decide whether to participate in the settlement. The

Notice provides Class Members with sufficient information to make an informed

decision to object to any aspect of the proposed Settlement.

      4.05. At the final Fairness Hearing, Movants anticipate presenting a final

order giving effect to the Settlement and dismissing without prejudice all claims

of any putative class members who have been excluded from the class.

      4.06. Upon confirmation of the settlement at the Final Fairness Hearing

the final order will release Defendants of all liability to the Class for the Released

Claims and will enjoin Class Members from pursuing or filing suit upon the

Released Claims.

      WHEREFORE, PREMISES CONSIDERED, Movants pray that the Court:

      1.     preliminarily certify the Class for settlement purposes as set forth

             in the proposed Settlement Agreement;

      2.     order that Plaintiff may act as representative of the Class and that

             Plaintiff’s attorneys may act as counsel for the Class;

      3.     authorize the form and mailing of the Notice;

      4.     set a final hearing to determine whether the Settlement is fair,

             adequate, and reasonable; and

      5.     at such hearing approve the Settlement and grant final judgment.

      Movants further pray for all such other and further relief, both at law

and in equity, as to which they may be justly entitled.

                                           Respectfully submitted,

/s/ Dana Karni                             /s/ Brian Bromberg

                                         11
  Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 12 of 13



Dana Karni                           Brian Bromberg
Texas Bar No. 24044379               (Pro Hac Vice)
SDTX Bar No. 592484                  BROMBERG LAW OFFICE, P.C.
KARNI LAW FIRM, P.C. 4635            26 Broadway, 21st Floor
Southwest Freeway, Suite 645         New York, NY 10004
Houston, Texas 77027                 Tel: (212) 248-7906
Tel: 713-552-0008                    brian@bromberglawoffice.com
Fax: 713-454-7247                    ATTORNEY FOR PLAINTIFF
Dana@KarniLawFirm.com
ATTORNEY FOR PLAINTIFF

/s/ Manuel H. Newburger
Manuel H. Newburger
Texas Bar No. 14946500
S.D. Texas Bar No. 23234
Barron & Newburger, P.C.
7320 N. MoPac Expy., Suite 400
Austin, Texas 78731
Telephone: (512) 649-4022
Facsimile: (512) 279-0310
mnewburger@bn-lawyers.com
ATTORNEY FOR DEFENDANT




                                    12
    Case 4:17-cv-00121 Document 13 Filed in TXSD on 04/12/18 Page 13 of 13



                            CERTIFICATE OF SERVICE

      I, the undersigned attorney, hereby certify that a true and correct copy of

the foregoing Motion has been served on Defendants’ attorney below through
                                             April, 2018 2017:
                                  12 day of ________,
the Court’s ECF system, on this ____                     ---------



                                           /s/ Dana Karni
                                               Dana Karni


SERVICE LIST:

Manuel H. Newburger
Barron & Newburger, P.C.
7320 N. MoPac Expy., Suite 400
Austin, Texas 78731
Telephone: (512) 649-4022
Facsimile: (512) 279-0310
mnewburger@bn-lawyers.com
ATTORNEY FOR DEFENDANTS




                                           13
